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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00200-DAD-BAM

12                                         Plaintiff,

13                              v.                       ORDER FOR FORFEITURE MONEY
                                                         JUDGMENT
14    DANIEL BARRIOS, JR., and
      BRANDI MARSHALL,
15
                                           Defendants.
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17            Based upon the United States’ Application for Forfeiture Money Judgment and the entry

18    of a guilty plea as to defendants Daniel Barrios and Brandi Marshall,

19            IT IS HEREBY ORDERED that

20            1.       Defendants Daniel Barrios and Brandi Marshall shall forfeit to the United States

21    $1,121,419.00, less any forfeited funds, and the Court imposes a personal forfeiture money

22    judgment against the defendants in that amount.

23            2.       Any funds applied towards such judgment shall be forfeited to the United States of

24    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

25    delivered to the United States to satisfy the personal money judgment shall be seized and held by

26    the United States Marshals Service, in its secure custody and control.

27            3.       This Order of Forfeiture shall become final as to the defendant at the time of

28    sentencing and shall be made part of the sentence and included in the judgment.
     ORDER FOR FORFEITURE MONEY JUDGMENT                 1
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 1            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 2    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 3    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 4    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 5            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 6    Order of Forfeiture to substitute property having a value not to exceed $1,121,419.00 to satisfy

 7    the money judgment in whole or in part.

 8    IT IS SO ORDERED.
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          Dated:      January 8, 2018
10                                                           UNITED STATES DISTRICT JUDGE

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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
